Case 2:21-cv-00160-LEW Document1 Filed 06/15/21 Pageilof5 PagelD#:1

Pro Se | (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

7 wens ant

Charles Paul Elwell

Plaintiffis)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-V-

South Portland Police
South Portland Housing
Small elementary school

for the
District of

nn AN tS A 8 02

____ Division

ee

aael Case'No.

 

(to be filled in by the Clerk's Office)

Jury Trial: (check one) ["] Yes [_INo

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

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COMPLAINT FOR A CIVIL CASE

1, The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

The Defendant(s)

Charles Paul Elwell
281 Progeway aS.
Soul Portland, Cumpedand
a
DAT
charlespaulewell@gmail.com

 

 

 

 

 

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (if town). Attach additional pages if needed.

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Defendant No. 1
Name
Job or Title (finown)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3
Name
Job or Title if town)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

South Portland Police

 

30 Antoine st mi
South Portland, Cumberland

 

ME 04106

(207)-874-8575

South Portland Housing Authority

101 Waterman dr #107 0
South Portland, Cumberland _

ME 04106

(207)-773-4140

 

Small Elementary School

87 Thompson at

South Portland, Cumberland _
ME 04106

(207)-7997676 |

 

Department Of Health and Human Services
35 Anthony ave,11 shs

Augusta, Kennebec

(207)-6248080,

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Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[ }Federal question J Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is 2 Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

Civil Rights Act of 1964

 

B. _If the Basis for Jurisdiction Is Diversity of Citizenship _
1. The Plaintififs)

a. If the plaintiff is an individual
The plaintiff, (name) ; , is a citizen of the
State of (name)

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated
under the laws of the State of (name) | | :
and has its principal place of business in the State of oy SO

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a If the defendant is an individual

 

 

The defendant, (name) , is acitizen of
the State of (name) . Or is a citizen of
(foreign nation)

 

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b. If the defendant is a corporation
The defendant, (name) , is incorporated under

the laws of the State of (name) , and has its

principal place of business in the State of (name)

Or is incorporated under the laws of (foreign nation) OO ;

 

and has its principal place of business in (name)

 

(if more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

$1,200,000

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Ch NCH. “

Ii. Statement of Claim

 

Write a short and plain statement of the claim. Do not make legal arguments, State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of cach claim in a separate paragraph. Attach additional pages if needed.

South Portland Police have gone out of their way to attempt to make me look like a criminal. I've had a gun pulled
on me when | called the cops, multiple officers refuse to take complaints, the officer who pulled a gun on me told
my wife if she told him | hit her he could arrest me. South Portland Housing constantly harassed me, and South
Portland Police refused to take a report, or stop it. Small elementary school employees filed muitiple false police
reports, and told my wife to file a false PFA. Both Smail and South Portland Police assisted my wife in obtaining a
PFA after | asked for help. The South Portland Police lied in the whole police report. Every officer lied. My
daughters teacher said she was scared of me, and the principal said | was out front yelling at kids. The principal

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IV. _ Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

Loss of projected earnings from loss of school degree.

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Certification and Closing

Under Federal Rule of Civil Procedure | 1, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule | !.

A, For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. | understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: Obs / 4 ; 20).
Signature of Plaintiff Lee ZL

Printed Name of Plaintiff Chall fia! Flrel)

B. For Attorneys

Date of signing: _ 20.

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm
Address

Telephone Number
E-mail Address

 

 

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